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  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-1141V



 DOROTHY CHRISTINE COLEMAN,                                 Chief Special Master Corcoran

                        Petitioner,                         Filed: April 17, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Koby Jack Kirkland, Law Office of Koby Kirkland, LLC, Mobile, AL, for Petitioner.

Katherine Edwards, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT 1

       On July 24, 2023, Dorothy Christine Coleman filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2
(the “Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome (“GBS”)
following an influenza vaccine administered on August 24, 2020. Petition at 1. Petitioner
further alleges that the vaccine was administered within the United States, that she
suffered the residual effects of her injury for more than six months, and that she has
received no award or compensation as a result of her injury. Petition at 1, 15-16. The
case was assigned to the Special Processing Unit of the Office of Special Masters.



1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
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       On April 5, 2024, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has concluded that Petitioner has satisfied the criteria set forth
in the Vaccine Injury Table and the Qualifications and Aids to Interpretation for GBS. Id.
at 6. Respondent further agrees that Petitioner has satisfied all legal prerequisites for
compensation under the Vaccine Act. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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